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                         FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


         UNITED STATES OF AMERICA,              No. 11-50107
                     Plaintiff-Appellee,
                                                  D.C. No.
                       v.                   3:10-cr-01805-JAH-1

         DANIEL EDWARD CHOVAN,
                  Defendant-Appellant.            OPINION


               Appeal from the United States District Court
                  for the Southern District of California
                John A. Houston, District Judge, Presiding

                         Argued and Submitted
                February 15, 2012—Pasadena, California

                        Filed November 18, 2013

             Before: Harry Pregerson, Michael Daly Hawkins,
                    and Carlos T. Bea, Circuit Judges.

                      Opinion by Judge Pregerson;
                       Concurrence by Judge Bea
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                                   SUMMARY*


                     Criminal Law/Second Amendment

            The panel affirmed the district court’s denial of a motion
        to dismiss an indictment in a case in which the defendant
        contended that 18 U.S.C. § 922(g)(9), which prohibits
        persons convicted of domestic violence misdemeanors from
        possessing firearms for life, violates his Second Amendment
        right to bear arms and does not apply to him because his civil
        rights have been restored.

            The panel held that the defendant’s 1996 misdemeanor
        domestic violence conviction did not divest him of civil rights
        because it did not divest him of the right to vote, the right to
        serve on a jury, or the right to hold public office, and that he
        therefore cannot qualify for the “civil rights restored”
        exception to § 922(g)(9). The panel also rejected the
        defendant’s argument that the civil rights restored exception
        violates the Equal Protection Clause.

           The panel held that intermediate scrutiny applies to the
        Second Amendment claim, and that § 922(g)(9) is
        constitutional on its face and as applied to the defendant.

            Concurring in the result, Judge Bea wrote separately to
        express his disagreement with the majority’s default
        determination that persons convicted of domestic violence
        misdemeanors are thereby disqualified from the core right of


            *
           This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
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        the Second Amendment to possess firearms for defense of the
        home.


                                COUNSEL

        Devin Burstein, Federal Defenders of San Diego, Inc., San
        Diego, California, for Defendant-Appellant

        Caroline P. Han, Assistant United States Attorney, San
        Diego, California, for Plaintiff-Appellee.


                                 OPINION

        PREGERSON, Circuit Judge:

             Following the entry of a conditional guilty plea, Daniel
        Chovan appeals the district court’s denial of his motion to
        dismiss an indictment against him for violation of 18 U.S.C.
        § 922(g)(9). Section 922(g)(9) prohibits persons convicted of
        domestic violence misdemeanors from possessing firearms
        for life. Chovan contends that § 922(g)(9) is unconstitutional
        both on its face and as applied to him because it violates his
        Second Amendment right to bear arms. In the alternative, he
        argues that § 922(g)(9) does not apply to him because his
        civil rights have been restored within the meaning of
        18 U.S.C. § 921(a)(33)(B)(ii). We have jurisdiction pursuant
        to 28 U.S.C. § 1291. We reject Chovan’s “civil rights
        restored” argument, hold that intermediate scrutiny applies to
        his Second Amendment claim, and uphold § 922(g)(9) under
        intermediate scrutiny.
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                FACTUAL & PROCEDURAL BACKGROUND

            In 1996, Daniel Chovan was convicted in California state
        court of the misdemeanor of inflicting corporal injury on a
        spouse in violation of California Penal Code § 273.5(a). The
        victim, Cheryl Fix,1 was living with Chovan at the time.2
        Chovan was sentenced to 120 days in jail and three years of
        supervised release.

            Because of this conviction, Chovan was prohibited from
        possessing firearms under both state and federal law. Under
        California Penal Code § 12021(c)(1), which at the time
        applied to misdemeanants generally, Chovan was barred from
        owning, purchasing, receiving, or having in his possession or
        under his custody or control, any firearm for a ten-year period
        following his conviction. But under 18 U.S.C. § 922(g)(9),
        a federal statute that applies only to persons convicted of
        misdemeanor domestic violence crimes, Chovan was barred
        from possessing any firearm for life.

            Section 922(g)(9) establishes two exceptions under which
        the statute will no longer apply: (1) “if the conviction has
        been expunged or set aside”; or (2) if the offender “has been
        pardoned or has had civil rights restored (if the law of the
        applicable jurisdiction provides for the loss of civil rights
        under such an offense).” 18 U.S.C. § 921(a)(33)(B)(ii).

            1
           Fix married Chovan in 1997 and changed her last name to “Chovan.”
        We refer to her as Fix throughout this opinion for the sake of clarity. Fix
        and Chovan separated in 2009.
            2
            California Penal Code § 273.5(a) does not require that the parties be
        married, but rather applies to any person who willfully inflicts corporal
        injury “upon a person who is his or her spouse, former spouse, cohabitant,
        former cohabitant, or the mother or father of his or her child . . . .”
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        These exceptions are not met if “the pardon, expungement, or
        restoration of civil rights expressly provides that the person
        may not ship, transport, possess, or receive firearms.” Id.

            In 2009, Chovan applied to purchase a firearm from a San
        Diego area gun dealer. He completed a required application
        form and answered “no” to the question whether he had ever
        been convicted of a misdemeanor crime of domestic violence.
        His purchase application was denied after a background
        check revealed his 1996 misdemeanor conviction of domestic
        violence. At the time of his application, Chovan could legally
        possess a firearm under California law because ten years had
        passed since his 1996 conviction, but § 922(g)(9) continued
        to bar him from possessing a firearm.

            The FBI received information about Chovan’s attempted
        purchase and began investigating Chovan. During their
        investigation, FBI agents found videos on the Internet
        depicting Chovan and others shooting rifles and conducting
        “border patrols” near the U.S.-Mexico border.

            The FBI also learned that in March 2010, San Diego
        County Sheriff deputies responded to a domestic dispute at
        Chovan’s residence. Fix, Chovan’s then-estranged wife, told
        the officers that Chovan had become violent, hit her with a
        cell phone, and threatened to hunt her down and shoot her if
        she ever left him. Fix said that she believed Chovan’s threats
        because he had weapons inside his house.

            On April 15, 2010, FBI and Bureau of Alcohol, Tobacco,
        Firearms and Explosives agents executed a search warrant of
        Chovan’s house. In the course of their search they found and
        confiscated four firearms, including a High Standard .22
        caliber handgun that belonged to Chovan, and 532 rounds of
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        assorted ammunition. Federal agents arrested Chovan the day
        after the search. During his arrest, Chovan admitted that he
        had possessed and fired the firearms several times since his
        1996 domestic violence conviction. A two-count indictment
        was brought against Chovan. Count One alleged that Chovan
        had knowingly possessed firearms in violation of § 922(g),
        and Count Two alleged that he had made a false statement in
        the acquisition of a firearm in violation of 18 U.S.C.
        § 924(a)(1)(A).

            Chovan moved to dismiss Count One, contending that
        (1) § 922(g)(9) is an unconstitutional violation of the Second
        Amendment; (2) his civil rights were “restored” within the
        meaning of § 921(a)(33)(B)(ii), and therefore § 922(g)(9) did
        not apply to him; and (3) § 922(g)(9)’s application to him was
        a violation of equal protection. The district court denied
        Chovan’s motion to dismiss, concluding that § 922(g)(9) “is
        a presumptively lawful prohibition and represents an
        exemption from the right to bear arms under the Second
        Amendment as articulated in [District of Columbia v. Heller,
        554 U.S. 570 (2008)].”

            Chovan pled guilty to Count One of the indictment,
        pursuant to a conditional plea agreement that preserved his
        right to appeal the denial of his motion to dismiss.3 Chovan
        was sentenced to five years probation. Chovan timely
        appealed the denial of his motion to dismiss.




            3
           Count Two was dismissed as a part of the plea agreement and is not at
        issue in this appeal.
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                           STANDARD OF REVIEW

            We review de novo the constitutionality of a statute.
        United States v. Vongxay, 594 F.3d 1111, 1114 (9th Cir.
        2010). We also review de novo constitutional challenges to
        a district court’s denial of a motion to dismiss. Id.

                                    DISCUSSION

            Chovan argues on appeal that § 922(g)(9) violates the
        Second Amendment because it is an impermissible restriction
        on the individual and fundamental right to bear arms. He
        alternatively argues that § 922(g)(9) does not apply to him
        because his civil rights were restored when his ten-year ban
        on owning firearms under California state law expired, and
        thus that his conviction should be vacated. We disagree with
        both arguments.

        I. Civil Rights Restored

            We start by addressing Chovan’s non-constitutional
        argument that § 922(g)(9) does not apply to him because his
        civil rights have been restored.4 Section 921(a)(33)(B)(ii)
        prevents the application of § 922(g)(9) in situations where a
        defendant’s “civil rights” have been restored. Chovan
        contends that his civil rights were restored within the
        meaning of § 921(a)(33)(B)(ii) when his right to own


          4
            See Dep’t of Commerce v. United States House of Representatives,
        525 U.S. 316, 343–44 (1999) (citing Ashwander v. Tenn. Valley Auth.,
        297 U.S. 288, 347 (1936) (Brandeis, J., concurring) (“[I]f a case can be
        decided on either of two grounds, one involving a constitutional question,
        the other a question of statutory construction or general law, the Court will
        decide only the latter.”)).
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        firearms was restored under California law ten years after his
        1996 conviction.

            Section 921(a)(33)(B)(ii) does not define the term “civil
        rights.” In United States v. Brailey, however, we addressed
        how to interpret the term. 408 F.3d 609, 611–13 (9th Cir.
        2005). In 1997, James David Brailey was convicted in Utah
        of a misdemeanor crime of domestic violence. Id. at 610–11.
        As a result of this conviction, he was barred from possessing
        firearms under then-existing Utah state law. Id. at 611. In
        2000, however, Utah amended its statutes such that Brailey
        and other misdemeanants were no longer prevented from
        possessing firearms. Id. at 610–11. Brailey was subsequently
        charged with firearm possession in violation of § 922(g)(9).
        Id. at 610. He appealed the § 922(g)(9) conviction,
        maintaining that his civil rights had been restored within the
        meaning of § 921(a)(33)(B)(ii) because his right to possess a
        gun had been restored under Utah law. Id.

            We rejected Brailey’s argument, concluding that his civil
        rights had never been “lost” because his misdemeanor
        conviction had not taken away his “core civil rights”: the
        right to vote, to sit as a juror, or to hold public office. Id. at
        613. Because Brailey’s civil rights had never been lost, we
        reasoned that they could not have been restored. We noted
        that most other circuits had also concluded that, “where civil
        rights are not divested for misdemeanor convictions, a person
        convicted of a misdemeanor crime of domestic violence
        cannot benefit from the federal restoration exception.” Id. at
        612 (citing United States v. Jennings, 323 F.3d 263 (4th Cir.
        2003); United States v. Barnes, 295 F.3d 1354 (D.C. Cir.
        2002); United States v. Smith, 171 F.3d 617 (8th Cir. 1999));
        see also Logan v. United States, 552 U.S. 23, 37 (2007)
        (holding that a different “civil rights restored” exception did
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        not apply to “an offender who lost no civil rights”). Thus, we
        concluded that Brailey failed to meet § 922(g)(9)’s civil
        rights restored exception.

            Chovan argues that Brailey’s reading of the civil rights
        restored exception is too narrow and “create[s] an equal
        protection problem.” According to Chovan it is unfair that
        under Brailey, individuals who lose the right to vote, serve on
        a jury, or hold public office because of their convictions but
        later have these rights restored can possess firearms, while
        individuals like Chovan who never lost these rights cannot.

            Chovan’s equal protection argument is foreclosed by our
        decision in United States v. Hancock, 231 F.3d 557 (9th Cir.
        2000). In 1994 and 1995, Gary Hancock was convicted of
        four Arizona state misdemeanors involving violence or
        threats of violence against his wife. Id. at 560. In 1999,
        Hancock was convicted of possessing a firearm in violation
        of § 922(g)(9). Id. On appeal, Hancock argued that his
        indictment should have been dismissed on equal protection
        grounds. Id. at 565. He argued that in Arizona, domestic
        violence misdemeanants are treated more harshly under
        § 922(g)(9) than felons because Arizona misdemeanants,
        unlike felons, are not deprived of their civil rights and as a
        result can never have their civil rights restored. Id. at 566.

            Applying rational basis review, we rejected Hancock’s
        equal protection claim. Id. at 566–67. First, we explained
        that when Congress enacted § 922(g)(9), it “was aware of the
        discrepancies in state procedures for revoking and restoring
        civil rights . . . . [D]isparate treatment of some offenders was
        the inevitable result of Congress’ decision to ‘look to state
        law to define the restoration exception.’” Id. (citing United
        States v. Smith, 171 F.3d 617, 625 (8th Cir. 1999)). Second,
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         we noted that in addition to the civil rights restored exception,
         § 922(g)(9) provides “several adequate legal mechanisms” for
         which both misdemeanants and felons can qualify: “pardon,
         expungement, and setting aside of convictions.” Id. at 567.
         Viewing the two exceptions together, we found that
         “Congress reasonably could conclude that felons who had
         been through a state’s restoration process and had regained
         their civil rights . . . were more fit to own firearms than
         domestic-violence misdemeanants who had not had their
         convictions expunged or been pardoned.” Id. We therefore
         upheld the civil rights restored exception under rational basis
         review as at least “minimally rational.” Id.

             Here, we apply Brailey and conclude that Chovan’s 1996
         misdemeanor domestic violence conviction did not divest him
         of civil rights because it did not divest him of the right to
         vote, the right to serve on a jury, or the right to hold public
         office. Because Chovan never lost these “core” civil rights,
         he cannot qualify for the civil rights restored exception to
         § 922(g)(9). Further, we reject Chovan’s argument that the
         civil rights restored exception violates the Equal Protection
         Clause for the same reasons we articulated in Hancock. Id.
         at 566–67.

         II. Second Amendment Challenge

             Having concluded that Chovan does not qualify for the
         “civil rights restored” exception, we turn to his Second
         Amendment challenge to § 922(g)(9). Chovan’s Second
         Amendment argument is predicated on the Supreme Court’s
         holding in District of Columbia v. Heller that the Second
         Amendment protects “an individual right to keep and bear
         arms.” 554 U.S. 570, 595 (2008).
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             In Heller, the Supreme Court struck down District of
         Columbia laws banning handgun possession in the home and
         requiring all firearms in homes to be unloaded and
         disassembled or “bound by a trigger lock or similar device.”
         Id. at 630, 635. While the Heller Court declined to
         “undertake an exhaustive historical analysis . . . of the full
         scope of the Second Amendment,” it did establish that the
         individual right guaranteed by the amendment is “not
         unlimited.” Id. at 626–27.

             The Heller Court suggested that the core of the Second
         Amendment right is to allow “law-abiding, responsible
         citizens to use arms in defense of hearth and home.” Id. at
         635. The Court indicated that determining the scope of the
         Second Amendment’s protections requires a textual and
         historical analysis of the amendment. See id. at 576–605.
         Finally, the Court established that “weapons not typically
         possessed by law-abiding citizens for lawful purposes” are
         not protected by the Second Amendment, id. at 625, and that
         certain “longstanding prohibitions” are “presumptively lawful
         regulatory measures”:

                [N]othing in our opinion should be taken to
                cast doubt on longstanding prohibitions on the
                possession of firearms by felons and the
                mentally ill, or laws forbidding the carrying of
                firearms in sensitive places such as schools
                and government buildings, or laws imposing
                conditions and qualifications on the
                commercial sale of arms.

         Id. at 626–27; see also id. at 627 n.26; McDonald v. City of
         Chicago, 561 U.S. __, 130 S. Ct. 3020, 3047 (2010).
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            The constitutionality of § 922(g)(9) is a question of first
         impression in this circuit, although a number of other circuits
         have upheld the statute using varying rationales. We briefly
         summarize the different approaches taken by these circuits.

              A. Approaches Taken By Other Circuits

                 1. Upheld as a “Presumptively Lawful Longstanding
                    Prohibition”: Eleventh Circuit

              The Eleventh Circuit considered the constitutionality of
         § 922(g)(9) and upheld it as a “presumptively lawful
         longstanding prohibition[].” United States v. White, 593 F.3d
         1199, 1205 (11th Cir. 2010). That court analogized
         § 922(g)(9) to the felon-in-possession ban the Heller Court
         listed as a presumptively lawful restriction, noting that
         “although passed relatively recently, § 922(g)(9) addresses
         the thorny problem of domestic violence, a problem Congress
         recognized as not remedied by ‘longstanding’ felon-in-
         possession laws.” Id. at 1206. Concluding that “Heller does
         not cast doubt” on § 922(g)(9)’s constitutionality because
         § 922(g)(9) is a presumptively lawful prohibition, and
         without further constitutional analysis, the Eleventh Circuit
         upheld the statute. Id.

             Two other circuits have criticized White’s approach. In
         United States v. Chester, the Fourth Circuit stated that “for all
         practical purposes” White treats “Heller’s listing of
         presumptively lawful measures” as a sort of “safe harbor for
         unlisted regulatory measures, such as 28 U.S.C. § 922(g)(9)”
         that are “analogous to those measures specifically listed in
         Heller.” 628 F.3d 673, 679 (4th Cir. 2010). The Chester
         court criticized the approach as “approximat[ing] rational-
         basis review, which has been rejected by Heller.” Id. In
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         United States v. Skoien, the Seventh Circuit sitting en banc
         declined to address whether § 922(g)(9) is presumptively
         lawful, stating, “We do not think it profitable to parse the[]
         passages of Heller [that list presumptively lawful measures]
         as if they contained an answer to the question whether
         § 922(g)(9) is valid.” 614 F.3d 638, 640 (7th Cir. 2010) (en
         banc).

                2. Remanded to District Court to Apply Intermediate
                   Scrutiny: Fourth Circuit

            In Chester, the Fourth Circuit considered William Samuel
         Chester’s argument that his § 922(g)(9) conviction abridged
         his right to keep and bear arms under the Second
         Amendment. 628 F.3d at 674. The court held first that a
         two-part inquiry applies to Second Amendment claims:

                The first question is “whether the challenged
                law imposes a burden on conduct falling
                within the scope of the Second Amendment’s
                guarantee.” . . . If the challenged regulation
                burdens conduct that was within the scope of
                the Second Amendment as historically
                understood, then we move to the second step
                of applying an appropriate form of means-end
                scrutiny.

         Id. at 680 (quoting United States v. Marzzarella, 614 F.3d 85,
         89 (3d Cir. 2010)). After canvassing the historical evidence
         on the Second Amendment rights of domestic violence
         misdemeanants and finding it “inconclusive,” the court stated,
         “We must assume, therefore, that Chester’s Second
         Amendment rights are intact and that he is entitled to some
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         measure of Second Amendment protection to keep and
         possess firearms in his home for self-defense.” Id. at 681–82.

             In its discussion of the second step—whether the
         challenged regulation survives the appropriate level of
         scrutiny—the Fourth Circuit noted that the Heller Court left
         open the question of what level of scrutiny applies to a law
         burdening Second Amendment-protected conduct, although
         the Court made clear that rational basis review was not
         sufficient. Id. at 682. The Chester court went on to state:

                Although Chester asserts his right to possess
                a firearm in his home for the purpose of
                self-defense, we believe his claim is not
                within the core right identified in Heller—the
                right of a law-abiding, responsible citizen to
                possess and carry a weapon for self-
                defense—by virtue of Chester’s criminal
                history as a domestic violence misdemeanant.
                Heller, [554 U.S. at 635]. Accordingly, we
                conclude that intermediate scrutiny is more
                appropriate than strict scrutiny for Chester
                and similarly situated persons.

         Id. at 682–83. The Chester court found that the government
         had not “carried its burden of establishing a reasonable fit
         between the important object of reducing domestic gun
         violence and § 922(g)(9)’s permanent disarmament of all
         domestic-violence misdemeanants,” and it therefore
         remanded the case to afford the parties the opportunity to
         present evidence on this question in the first instance. Id. at
         683.
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                3. Upheld After Application of Intermediate or
                   Heightened Scrutiny: First, Fourth, and Seventh
                   Circuits

             In United States v. Skoien, the Seventh Circuit sitting en
         banc upheld § 922(g)(9) after assuming that intermediate
         scrutiny or its equivalent applied, and therefore that an
         “important governmental objective” and “substantially
         related” means were necessary to uphold the statute.
         614 F.3d at 641–42. The Seventh Circuit examined a number
         of studies supporting the relationship between § 922(g)(9)
         and the important government interest of preventing gun
         violence. Id. at 642–44. The court noted, for example, that
         it is established that “firearms cause injury or death in
         domestic situations,” and that “[d]omestic assaults with
         firearms are approximately twelve times more likely to end
         in the victim’s death than are assaults by knives or fists.” Id.
         at 643 (citing Linda E. Saltzman, James A. Mercy, Patrick W.
         O’Carroll, Mark L. Rosenberg & Philip H. Rhodes, Weapon
         Involvement and Injury Outcomes in Family and Intimate
         Assaults, 267 J. Am. Med. Ass’n 3043 (1992)). The court
         also noted that “[t]he presence of a gun in the home of a
         convicted domestic abuser is ‘strongly and independently
         associated with an increased risk of homicide.’” Id. (quoting
         Arthur L. Kellermann, et al., Gun Ownership as a Risk Factor
         for Homicide in the Home, 329 New England J. Med. 1084,
         1087 (1993)). In light of “[b]oth logic and data,” the Seventh
         Circuit held that keeping guns from domestic violence
         misdemeanants is substantially related to the government
         interest of preventing gun violence. Id. at 642.

            The Skoien court also held that § 922(g)(9) was
         constitutional as applied to Skoien. Id. at 645. Skoien
         contended that § 922(g)(9) was not substantially related to an
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         important government objective because it “perpetual[ly]”
         disqualifies all persons convicted of domestic violence, even
         people who had not been in legal trouble for many years. Id.
         at 644. The court rejected Skoien’s argument, emphasizing
         the statute’s exceptions under which domestic violence
         misdemeanants may regain their rights to possess firearms.
         The court also noted,

                Skoien is poorly situated to contend that the
                statute creates a lifetime ban for someone who
                does not pose any risk of further offenses
                [because] Skoien is himself a recidivist,
                having been convicted twice of domestic
                battery. . . . A person to whom a statute
                properly applies can’t obtain relief based on
                arguments that a differently situated person
                might present.

         Id. at 645 (citing United States v. Salerno, 481 U.S. 739, 745
         (1987)).

             The First Circuit similarly upheld § 922(g)(9) after
         applying the equivalent of intermediate scrutiny. United
         States v. Booker, 644 F.3d 12, 25 (1st Cir. 2011). The Booker
         court found that while § 922(g)(9) “appears consistent with
         Heller’s reference to certain presumptively lawful regulatory
         measures,” any “categorical ban on gun ownership by a class
         of individuals must be supported by some form of ‘strong
         showing,’ necessitating a substantial relationship between the
         restriction and an important governmental objective.” Id. at
         25. The court upheld § 922(g)(9) after concluding that social
         science research supported a finding of “a substantial
         relationship between § 922(g)(9)’s disqualification of
         domestic violence misdemeanants from gun ownership and
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         the governmental interest in preventing gun violence in the
         home.” Id.

             Finally, the Fourth Circuit in United States v. Staten
         considered the constitutionality of § 922(g)(9) on a full record
         after its decision in Chester. Unlike in Chester, where the
         court remanded the application of intermediate scrutiny to the
         district court because the record was incomplete, in Staten the
         court upheld § 922(g)(9) under intermediate scrutiny.
         666 F.3d 154, 167 (4th Cir. 2011). The Staten court first held
         that the government had carried its burden of establishing that
         reducing domestic gun violence is a substantial government
         objective. Id. at 161. The court then examined the social
         science studies cited by the government and found that the
         government had established that:

                (1) domestic violence is a serious problem in
                the United States; (2) the rate of recidivism
                among domestic violence misdemeanants is
                substantial; (3) the use of firearms in
                connection with domestic violence is all too
                common; (4) the use of firearms in connection
                with domestic violence increases the risk of
                injury or homicide during a domestic violence
                incident; and (5) the use of firearms in
                connection with domestic violence often leads
                to injury or homicide.

         Id. at 167. The court concluded that the government had
         therefore “carried its burden of establishing a reasonable fit
         between the substantial government objective of reducing
         domestic gun violence and keeping firearms out of the hands
         of [domestic violence misdemeanants]”. Id.
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              B. Chovan’s Second Amendment Challenge

             After considering the approaches taken by other circuits
         that considered the constitutionality of § 922(g)(9), we hold
         as follows. We adopt the two-step Second Amendment
         inquiry undertaken by the Third Circuit in Marzzarella,
         614 F.3d at 89, and the Fourth Circuit in Chester, 628 F.3d at
         680, among other circuits. Applying that inquiry, we hold
         that § 922(g)(9) burdens conduct falling within the scope of
         the Second Amendment’s guarantee and that intermediate
         scrutiny applies to Chovan’s Second Amendment challenge.
         Finally, like the First, Fourth, and Seventh Circuits, we apply
         intermediate scrutiny to § 922(g)(9) and hold that it is
         constitutional on its face and as applied to Chovan.

                 1. The Two-Step Inquiry

             The two-step Second Amendment inquiry we adopt
         (1) asks whether the challenged law burdens conduct
         protected by the Second Amendment and (2) if so, directs
         courts to apply an appropriate level of scrutiny. Chester,
         628 F.3d at 680; see also Marzzarella, 614 F.3d at 89.

             We believe this two-step inquiry reflects the Supreme
         Court’s holding in Heller that, while the Second Amendment
         protects an individual right to keep and bear arms, the scope
         of that right is not unlimited. 554 U.S. at 626–27. The two-
         step inquiry is also consistent with the approach taken by
         other circuits considering various firearms restrictions post-
         Heller. See, e.g., Heller v. District of Columbia, 670 F.3d
         1244, 1251–58 (D.C. Cir. 2011) (“Heller II”); Ezell v. City of
         Chicago, 651 F.3d 684, 701–04 (7th Cir. 2011); United States
         v. Reese, 627 F.3d 792, 800–05 (10th Cir. 2010). We join the
         Third, Fourth, Seventh, Tenth, and D.C. Circuits in holding
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         that the two-step framework outlined above applies to Second
         Amendment challenges.

                2. Applying the Two-Step Inquiry: Section 922(g)(9)
                   Affects Second Amendment Rights and
                   Intermediate Scrutiny Applies

             At the first step of the inquiry, we conclude that by
         prohibiting domestic violence misdemeanants from
         possessing firearms, § 922(g)(9) burdens rights protected by
         the Second Amendment.

             Section 922(g)(9) is not mentioned in Heller. The
         government argues that § 922(g)(9) is a presumptively lawful
         regulatory measure and does not burden rights historically
         understood to be protected by the Second Amendment.
         According to the government, § 922(g)(9) is part of a “long
         line of prohibitions and restrictions on the right to possess
         firearms by people perceived as dangerous or violent.”

             We do not agree. First, it is not clear that such
         prohibitions are so longstanding. The first federal firearm
         restrictions regarding violent offenders were not passed until
         1938, as part of the Federal Firearms Act. See C. Kevin
         Marshall, Why Can’t Martha Stewart Have a Gun?, 32 Harv.
         J.L. & Pub. Pol’y 695, 698, 708 (2009) (noting that “one can
         with a good degree of confidence say that bans on convicts
         possessing firearms were unknown before World War I”).
         Second, and more importantly, the government has not
         proved that domestic violence misdemeanants in particular
         have historically been restricted from bearing arms. The
         Federal Firearms Act of 1938 only restricted firearm
         possession for those individuals convicted of a “crime of
         violence,” defined as “murder, manslaughter, rape, mayhem,
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         kidnapping, burglary, housebreaking, and certain forms of
         aggravated assault—assault with intent to kill, commit rape,
         or rob; assault with a dangerous weapon, or assault with
         intent to commit any offense punishable by imprisonment for
         more than one year.” Id. at 699 (internal quotation marks
         omitted). Domestic violence misdemeanants—like Chovan,
         who was convicted of simple misdemeanor assault under
         California Penal Code § 273.5(a)—would not be restricted
         from possessing firearms under the Federal Firearms Act. In
         fact, domestic violence misdemeanants were not restricted
         from possessing firearms until 1996, with the passage of the
         Lautenberg Amendment to the Gun Control Act of 1968.
         Pub. L. No. 104-208, § 658, 110 Stat. 3009, 3009-371 (1996).

              Because of “the lack of historical evidence in the record
         before us, we are certainly not able to say that the Second
         Amendment, as historically understood, did not apply to
         persons convicted of domestic violence misdemeanors. We
         must assume, therefore, that [Chovan]’s Second Amendment
         rights are intact and that he is entitled to some measure of
         Second Amendment protection to keep and possess firearms
         in his home for self-defense.” Chester, 628 F.3d at 681–82.

             We now reach the second step of the Second Amendment
         inquiry. In Heller, the Supreme Court did not specify what
         level of scrutiny courts must apply to a statute challenged
         under the Second Amendment. The Heller Court did,
         however, indicate that rational basis review is not appropriate.
         See Heller, 554 U.S. at 628 n.27 (“If all that was required to
         overcome the right to keep and bear arms was a rational basis,
         the Second Amendment would be redundant with the separate
         constitutional prohibitions on irrational laws, and would have
         no effect.”). Having concluded that § 922(g)(9) burdens
         Second Amendment rights, we reject rational basis review
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         and conclude that some sort of heightened scrutiny must
         apply.

             In determining the appropriate level of scrutiny, other
         circuit courts have looked to the First Amendment as a guide.
         See, e.g., Chester, 628 F.3d at 682; Marzzarella, 614 F.3d at
         89 n.4, 96–97; Ezell, 651 F.3d at 703, 707. We agree with
         these courts’ determination that, just as in the First
         Amendment context, the level of scrutiny in the Second
         Amendment context should depend on “the nature of the
         conduct being regulated and the degree to which the
         challenged law burdens the right.” See Chester, 628 F.3d at
         682; see also Marzzarella, 614 F.3d at 96–97. More
         specifically, the level of scrutiny should depend on (1) “how
         close the law comes to the core of the Second Amendment
         right,” and (2) “the severity of the law’s burden on the right.”
         Ezell, 651 F.3d at 703.

             Heller tells us that the core of the Second Amendment is
         “the right of law-abiding, responsible citizens to use arms in
         defense of hearth and home.” 554 U.S. at 635. Section
         922(g)(9) does not implicate this core Second Amendment
         right because it regulates firearm possession for individuals
         with criminal convictions. “Although [Chovan] asserts his
         right to possess a firearm in his home for the purpose of self-
         defense, we believe his claim is not within the core right
         identified in Heller—the right of a law-abiding, responsible
         citizen to possess and carry a weapon for self-defense—by
         virtue of [Chovan]’s criminal history as a domestic violence
         misdemeanant.” Chester, 628 F.3d at 682–83; cf. Ezell,
         651 F.3d at 708 (finding that a challenged statute implicated
         the core Second Amendment right because “the plaintiffs are
         the ‘law-abiding, responsible citizens’ whose Second
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         Amendment rights are entitled to full solicitude under Heller”).

             The burden the statute places on domestic violence
         misdemeanants’ rights, however, is quite substantial. Unlike
         the regulations in Marzzarella or Heller II, § 922(g)(9) does
         not merely regulate the manner in which persons may
         exercise their Second Amendment rights. Cf. Marzzarella,
         614 F.3d at 97 (concluding that obliterated serial numbers
         regulation “does not severely limit the possession of
         firearms” because “[i]t leaves a person free to possess any
         otherwise lawful firearm he chooses”); Heller II, 670 F.3d at
         1258 (reasoning that the District of Columbia’s gun
         registration requirements were not a severe burden because
         they do not “prevent[] an individual from possessing a
         firearm in his home or elsewhere”). Instead, as Chovan
         argues, § 922(g)(9) amounts to a “total prohibition” on
         firearm possession for a class of individuals—in fact, a
         “lifetime ban.” As such, the statute is a more “serious
         encroachment” on the Second Amendment right. See Ezell,
         651 F.3d at 708. But Chovan goes too far when he argues
         that § 922(g)(9) is too broad because it “contains no provision
         limiting its applicability.” As explained above, § 922(g)(9)
         exempts those with expunged, pardoned, or set-aside
         convictions, or those who have had their civil rights restored.
         Therefore, while we recognize that § 922(g)(9) substantially
         burdens Second Amendment rights, the burden is lightened
         by these exceptions.

           In sum, § 922(g)(9) does not implicate the core Second
         Amendment right, but it does place a substantial burden on
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         the right. Accordingly, we conclude that intermediate rather
         than strict scrutiny is the proper standard to apply.5

                  3. Applying Intermediate Scrutiny, We Uphold
                     § 922(g)(9) and Its Application to Chovan

             Although courts have used various terminology to
         describe the intermediate scrutiny standard, all forms of the
         standard require (1) the government’s stated objective to be
         significant, substantial, or important; and (2) a reasonable fit
         between the challenged regulation and the asserted objective.
         Chester, 628 F.3d at 683. As we explain below, § 922(g)(9),
         both on its face and as applied to Chovan, survives
         intermediate scrutiny.

                       a. Important Government Interest

             Chovan concedes that § 922(g)(9) was motivated by the
         important government interest of “keeping firearms away
         from those most likely to misuse them” or “preventing gun
         violence.” We agree that § 922(g)(9) advances an important
         government objective, but define the objective slightly more
         narrowly, as preventing domestic gun violence.


          5
            Most courts have also found that intermediate scrutiny or its equivalent
         is the proper standard to apply to Second Amendment challenges to
         § 922(g)(9) and similar statutes. See, e.g., Booker, 644 F.3d at 25;
         Chester, 628 F.3d at 682–83; Marzzarella, 614 F.3d at 97 (applying
         intermediate scrutiny to Second Amendment challenge of 18 U.S.C.
         § 922(k), a ban on possession of firearms with obliterated serial numbers);
         Reese, 627 F.3d at 802 (applying intermediate scrutiny to Second
         Amendment challenge of 18 U.S.C. § 922(g)(8), which bans the
         possession of firearms by those subject to domestic protection orders);
         Heller II, 670 F.3d at 1257 (applying intermediate scrutiny to District of
         Columbia’s firearm registration requirements).
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              That the government interest behind § 922(g)(9) was to
         prevent domestic gun violence is apparent from the face of
         the statute and its legislative history. As the government
         explains, the 1996 passage of § 922(g)(9) was motivated by
         the concern that guns were not being kept away from
         domestic abusers under felon-in-possession laws because
         “many people who engage in serious spousal or child abuse
         ultimately are not charged with or convicted of felonies.”
         Skoien, 614 F.3d at 643 (quoting 142 Cong. Rec. 22985
         (1996) (statement of Sen. Lautenberg) (internal quotation
         marks omitted)); see also United States v. Hayes, 555 U.S.
         415, 426 (2009); United States v. White, 593 F.3d 1199, 1205
         (11th Cir. 2010). Through § 922(g)(9), Congress sought to
         “close this dangerous loophole” and “establish[] a policy of
         zero tolerance when it comes to guns and domestic violence.”
         Booker, 644 F.3d at 16 (quoting 142 Cong. Rec. S8831 (daily
         ed. July 25, 1996) (statement of Sen. Lautenberg) (internal
         quotation marks omitted) (emphasis added)). Thus, the
         legislative history of § 922(g)(9) shows that Congress did not
         enact the statute for the purpose of “preventing gun violence,”
         as Chovan argues. Instead, Congress passed § 922(g)(9) to
         prevent domestic gun violence.

             We and other circuits have previously defined the
         government interest behind § 922(g)(9) in this way. In
         United States v. Belless, we noted that the purpose of
         § 922(g)(9) is “to keep firearms out of the hands of people
         whose past violence in domestic relationships makes them
         untrustworthy custodians of deadly force.” 338 F.3d 1063,
         1067 (9th Cir. 2003). In Booker, the First Circuit similarly
         defined the interest behind § 922(g)(9) as “keeping guns
         away from people who have been proven to engage in
         violence with those with whom they share a domestically
         intimate or familial relationship, or who live with them or the
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         like.” 644 F.3d at 25. Finally, in Staten, the Fourth Circuit
         defined the interest behind § 922(g)(9) as “reducing domestic
         gun violence.” 666 F.3d at 161 (emphasis added).

             It is self-evident that the government interest of
         preventing domestic gun violence is important. See Booker,
         644 F.3d at 25 (“[K]eeping guns away from people who have
         been proven to engage in [domestic] violence . . . is
         undeniably important.” (citing Carey v. Brown, 447 U.S. 455,
         471 (1980) (“The State’s interest in protecting the well-being,
         tranquility, and privacy of the home is certainly of the highest
         order in a free and civilized society.”))). We hold that the
         government has met its burden to show that reducing
         domestic gun violence is an important government objective.

                    b. Substantially Related to Government Interest

             Keeping guns from domestic violence misdemeanants is
         substantially related to the broader interest of preventing
         domestic gun violence for four related reasons. First, we
         agree with the government that the legislative history
         indicates that Congress enacted § 922(g)(9) because it sought
         to reach the people who had demonstrated violence, but were
         not kept from possessing firearms by § 922(g)(1) because
         domestic abusers are not often convicted of felonies. See
         Hayes, 129 S. Ct. at 1087.

             Second, we agree with the government that “a high rate of
         domestic violence recidivism exists.” The government relies
         on Skoien, in which the Seventh Circuit pointed to a number
         of studies estimating a rate of domestic violence recidivism
         between 35% and 80%. See Skoien, 614 F.3d at 643–44.
         Estimates of “[t]he full recidivism rate,” which “includes
         violence that does not lead to an arrest,” “range from 40% to
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         80% ‘when victims are followed longitudinally and
         interviewed directly.’” 614 F.3d at 644 (citing Carla Smith
         Stover, Domestic Violence Res., 20 J. Interpersonal Violence
         448, 450 (2005)). The Skoien court also cited two other
         studies that estimated the full recidivism rate to be 35% and
         52%, respectively. Id. (citing Julia C. Babcock, et al., Does
         Batterers’ Treatment Work? A Meta-Analytic Review of
         Domestic Violence Treatment, 23 Clinical Psychol. Rev.
         1023, 1039 (2004) (estimating a 35% recidvism rate based on
         partners’ reports); John H. Laub & Robert J. Sampson,
         Understanding Desistance from Crime, 28 Crime & Just. 1,
         31 (2001) (estimating that only 48% of domestic abusers
         “suspended” their abusive conduct within three years of
         conviction)).

             Third, we agree with the government that domestic
         abusers use guns. The government explains that “Congress
         acknowledged that the use of guns in incidents of domestic
         violence was a compelling concern,” and cites to the
         Congressional Record in which Congress found that
         “annually, over 150,000 incidents of domestic violence
         involve a gun.” See United States v. Smith, 742 F. Supp. 2d
         855, 867 (S.D.W.Va. 2010) (citing Cong. Rec. 22,986)). The
         government further relies on the fact, articulated in Booker,
         that “nearly 52,000 individuals were murdered by a domestic
         intimate between 1976 and 1996, and the perpetrator used a
         firearm in roughly 65% of the murders.” Booker, 644 F.3d at
         26.

              Finally, we agree with the government that the use of
         guns by domestic abusers is more likely to result in the
         victim’s death. The government cites a medical study relied
         upon in Skoien for the proposition that incidents of domestic
         violence involving firearms are twelve times more likely to
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         end in the victim’s death than incidents where a perpetrator
         is either unarmed or armed with a knife alone. See Skoien,
         614 F.3d at 643 (citing Linda E. Saltzman, James A. Mercy,
         Patrick W. O’Carroll, Mark L. Rosenberg & Philip H.
         Rhodes, Weapon Involvement and Injury Outcomes in Family
         and Intimate Assaults, 267 J. Am. Medical Ass’n 3043
         (1992)).

             Putting these four conclusions together, the government
         has demonstrated that domestic violence misdemeanants are
         likely to commit acts of domestic violence again and that, if
         they do so with a gun, the risk of death to the victim is
         significantly increased. We hold that the government has
         thereby met its burden to show that § 922(g)(9)’s prohibition
         on gun possession by domestic violence misdemeanants is
         substantially related to the important government interest of
         preventing domestic gun violence. Because § 922(g)(9) is
         supported by an important government interest and
         substantially related to that interest, the statute passes
         constitutional muster under intermediate scrutiny.

                    c. Chovan’s As-Applied Challenge

             Chovan argues that § 922(g)(9) is unconstitutional as
         applied to him because his 1996 domestic violence conviction
         occurred fifteen years before his § 922(g)(9) conviction, he is
         unlikely to recidivate, and he has in fact been law-abiding for
         those fifteen years.

             Chovan cites several statistics in support of his argument
         that he is at low risk of recidivism. He cites the Sentencing
         Commission’s Measuring Recidivism study, which
         establishes that those with stable employment are less likely
         to recidivate and that “‘[r]ecidivism is comparatively low for
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         the lowest sentences (less than six months or probation).’”
         See Measuring Recidivism: The Criminal History
         Computation of the Federal Sentencing Guidelines at 12, 14).
         He also cites a National Institute for Justice study for the
         proposition that people who remain offense free for as long
         as Mr. Chovan (and indeed for much shorter periods) pose a
         recidivism risk equal to that of the general population. See
         Blumstein & K. Nakamura, ‘Redemption’ in an Era of
         Widespread Criminal Background Checks, NIJ Journal, June
         2009, at 10).

             But the Sentencing Commission statistics do not reveal
         the actual rate of recidivism for those with stable employment
         or short sentences; the statistics only establish that individuals
         in those two categories have comparatively lower recidivism
         rates than individuals in other categories. Measuring
         Recidivism at 14. Moreover, none of Chovan’s statistics has
         to do with individuals convicted of domestic violence crimes
         specifically. The National Institute for Justice study mentions
         only burglary, robbery, and aggravated assault; it does not
         mention domestic violence, nor does it make conclusions
         about individuals convicted of crimes generally.
         ‘Redemption’ at 12. Meanwhile, the government has referred
         to domestic violence studies mentioned by the Skoien court
         showing that the recidivism rates for individuals convicted of
         domestic violence is significant—between 35 and 80 percent.
         See Skoien, 614 F.3d at 643–44.

             Chovan also argues that he has not been arrested for
         domestic violence since the 1996 conviction and has
         otherwise been law-abiding. He argues that a March 2010
         domestic violence call made by his estranged wife and victim
         of the act of domestic violence underlying the 1996
         conviction, Cheryl Fix, should not be held against him
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         because it did not result in a charge or even arrest and
         amounts to “unsubstantiated allegations.” When San Diego
         County Sheriff deputies responded to the call, Fix told them
         that Chovan had become violent with her, struck her with a
         cell phone, and threatened to hunt her down and shoot her if
         she ever left him.

              Although Chovan was not arrested for domestic violence,
         we nonetheless consider the March 2010 domestic abuse call
         and Fix’s statements. The call is part of the record. And it
         should be considered, especially in light of one of the
         underlying rationales of § 922(g)(9): acts of domestic
         violence are under-reported and often do not lead to arrest or
         conviction. See Skoien, 614 F.3d at 643 (explaining that in
         enacting § 922(g)(9) Congress recognized that the felon-in-
         possession ban did not keep guns away from domestic
         abusers because many domestic abusers are never charged
         with or convicted of felonies (quoting 142 Cong. Rec. 22,985
         (1996) (statement of Sen. Lautenberg))). The March 2010
         domestic abuse call supports the conclusions that Chovan is
         at risk of recidivism for domestic violence and that Chovan
         might use a gun to commit future domestic violence. In light
         of the domestic abuse call, § 922(g)(9)’s application to
         Chovan is substantially related to the goal of reducing
         domestic gun violence.

             But even if we were to set aside the March 2010 domestic
         abuse call and assume that Chovan has had no history of
         domestic violence since 1996, Chovan has not presented
         evidence to directly contradict the government’s evidence
         that the rate of domestic violence recidivism is high. Nor has
         he directly proved that if a domestic abuser has not
         committed domestic violence for fifteen years, that abuser is
         highly unlikely to do so again. In the absence of such
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         evidence, we conclude that the application of § 922(g)(9) to
         Chovan is substantially related to the government’s important
         interest of preventing domestic gun violence.

              Finally, we note that if Chovan’s as-applied challenge
         succeeds, a significant exception to § 922(g)(9) would
         emerge. If Congress had wanted § 922(g)(9) to apply only to
         individuals with recent domestic violence convictions, it
         could have easily created a limited duration rather than
         lifetime ban. Or it could have created a good behavior clause
         under which individuals without new domestic violence
         arrests or charges within a certain number of years of
         conviction would automatically regain their rights to possess
         firearms. But Congress did not do so. Congress permissibly
         created a broad statute that only excepts those individuals
         with expunged, pardoned, or set aside convictions and those
         individuals who have had their civil rights restored. See
         Skoien, 614 F.3d at 641 (“[S]ome categorical
         disqualifications are permissible: Congress is not limited to
         case-by-case exclusions of persons who have been shown to
         be untrustworthy with weapons, nor need these limits be
         established by evidence presented in court.”). The breadth of
         the statute and the narrowness of these exceptions reflect
         Congress’s express intent to establish a “zero tolerance
         policy” towards guns and domestic violence.

            Because the application of § 922(g)(9) to Chovan is
         substantially related to the government’s important interest of
         preventing domestic gun violence, Chovan’s as-applied
         challenge fails.
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                               CONCLUSION

             For the foregoing reasons, we reject Chovan’s “civil
         rights restored” claim, hold that intermediate scrutiny is the
         proper standard to apply to his Second Amendment claim,
         and uphold § 922(g)(9) and its application to Chovan under
         intermediate scrutiny. AFFIRMED.



         BEA, Circuit Judge, concurring:

             I concur in the result of this case. I write separately to
         express my disagreement with the majority’s default
         determination that persons convicted of domestic violence
         misdemeanors are thereby disqualified from the core right of
         the Second Amendment to possess firearms for defense of the
         home. First, however, let me detail the points on which the
         majority and I agree.

                                        I.

             Based on the weight of authority of our sister circuits, the
         majority opinion decides to apply to this Second Amendment
         case the familiar “scrutiny” tests that have become the
         method of analysis of challenged legislation under the First
         Amendment. Because appellant does not argue this point but
         accepts it, see Blue Br. at 24 (arguing that strict scrutiny
         should apply), I will treat the point as waived and accept the
         application of the tiers of scrutiny analysis to the Second
         Amendment jurisprudence. But see Heller v. Dist. of
         Columbia, 670 F.3d 1244, 1271 (D.C. Cir. 2011)
         (Kavanaugh, J., dissenting) (“Are gun bans and regulations to
         be analyzed based on the Second Amendment’s text, history,
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         and tradition[,] . . . [o]r may judges re-calibrate the scope of
         the Second Amendment right based on judicial assessment of
         whether the law advances a sufficiently compelling or
         important government interest to override the individual
         right? . . . In my view, Heller and McDonald leave little doubt
         that courts are to assess gun bans and regulations based on
         text, history, and tradition, not by a balancing test such as
         strict or intermediate scrutiny.”); Eugene Volokh,
         Implementing the Right To Keep and Bear Arms for Self-
         Defense: An Analytical Framework and a Research Agenda,
         56 UCLA L. Rev. 1443, 1443, 1461–73 (2009) (“[U]nitary
         tests such as ‘strict scrutiny,’ ‘intermediate scrutiny,’ ‘undue
         burden,’ and the like don’t make sense here” in the Second
         Amendment context because the language of Heller seems to
         foreclose scrutiny analysis).

             I agree with the majority that, if we are to apply the “tiers
         of scrutiny” to our Second Amendment jurisprudence, the
         correct way to do so is the two-step inquiry adopted by
         several other circuits, whereby we “(1) ask[] whether the
         challenged law burdens conduct protected by the Second
         Amendment and (2) if so, . . . apply the appropriate level of
         scrutiny.” Maj. Op. at 18.

             I also agree with the majority’s application of step one.
         It correctly holds that there is insufficient evidence to
         conclude that the prohibition on misdemeanants owning
         firearms is “longstanding.” Therefore, Chovan’s “Second
         Amendment rights are intact.” Maj. Op. at 20 (quoting
         United States v. Chester, 628 F.3d 673, 681–82 (4th Cir.
         2010)).
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            I further agree with the majority opinion when, at step
         two, it “recognize[s] that 18 U.S.C. § 922(g)(9) substantially
         burdens Second Amendment rights.”1 Maj. Op. at 22.

             Finally, I agree with the majority that if one applies
         intermediate scrutiny, § 922(g)(9) would satisfy this level of
         scrutiny. The governmental interest in preventing a possible
         recidivist from committing more serious violence through the
         use of a gun is a “substantial governmental interest,” and
         § 922(g)(9) constitutes a “reasonable fit” between the
         legislation and its goal. Maj. Op. at 23–27.

                                             II.

             The sole basis of my disagreement with the majority
         opinion is the “default” effect of the misdemeanor conviction.
         I call it “default” because, without explanation,2 the majority
         held Chovan’s domestic violence misdemeanor conviction
         deprives him of his core right to gun possession for self-
         defense in the home, which, the Supreme Court held in
         Heller, the Second Amendment gives a “law-abiding,


           1
             I do not, however, think the burden “is lightened” to some degree by
         the exceptions for those whose convictions have been pardoned,
         expunged, or set-aside, and for those who have had their civil rights
         restored. Maj. Op. at 22. If the convictions are no longer extant, there is
         no burden whatsoever. If the conviction remains, the full burden obtains.
         There is no “light” burden.

              Removal of the convictions is relevant, however, to the narrow-
         tailoring requirement of the strict scrutiny test. See infra, at 49–51.
          2
            I would say ipse dixit, except some other courts dixerunt’d first. See,
         e.g., Chester, 628 F.3d at 682–83. So, this is more of an argument from
         the non-binding authority of our sister circuits’ opinions.
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         responsible citizen.”3 The majority opinion in our case states
         that Chovan’s constitutional “claim is not within the core
         right identified in Heller—the right of a law-abiding,
         responsible citizen to possess and carry a weapon for self-
         defense—by virtue of [his] criminal history as a domestic
         violence misdemeanant.” Maj. Op. at 14 (quoting Chester,
         628 F.3d at 682–83). Therefore, it concludes, because
         § 922(g)(9)’s burden, although “substantial[],” is not total,
         intermediate scrutiny is the correct standard. Id. at 22. “In
         sum,” the majority opinion concludes, “§ 922(g)(9) does not
         implicate the core Second Amendment right . . . .” Id. at 23.

              Why?

                                             a.

            The majority opinion holds that Chovan forfeited his core
         Second Amendment right when he was convicted of a
         misdemeanor. Id. at 22 (stating that Chovan can no longer be
         considered a “law-abiding, responsible citizen . . . by virtue
         of [his] criminal history as a domestic violence
         misdemeanant”). In this, the majority are not alone. The
         Fourth Circuit has made a similar conclusion. See Chester,
         628 F.3d at 682–83.

             This default disqualification of misdemeanants from the
         “core” right of the Second Amendment resembles the
         Supreme Court’s “disqualification” language regarding felons
         in Heller. The Court in Heller seemed to equate the status of


          3
            It should be noted that the guns Chovan was found to possess were (1)
         at his home, and (2) of the kind traditionally used for defense of the home
         (a Winchester shotgun, a .22 caliber rifle, .22 caliber handgun, and a
         Baldwin & Company antique shotgun).
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         a felon or of one mentally ill with a presumptive
         disqualification from the Second Amendment right. See Dist.
         of Columbia v. Heller, 554 U.S. 570, 631 (2008) (linking
         “disqualifi[cation]” with being a felon or insane); id. at 635
         (“Assuming that Heller is not disqualified from the exercise
         of Second Amendment rights, the District must permit him to
         register his handgun and must issue him a license to carry it
         in the home.”) (emphasis added).

             Just as Heller found felons to be presumptively
         disqualified from the protection of the Second Amendment,
         so the majority have found a domestic violence
         misdemeanant, Chovan, to be presumptively disqualified
         from the “core” protection of the Second Amendment. This
         conclusion seems to stem from a perceived similarity
         between felons and domestic violence misdemeanants. This
         conclusion, however, is mistaken. Throughout history, felons
         have been subject to forfeiture and disqualification, but
         misdemeanants, in direct contrast to felons, have not.

             At common law, there was a fundamental difference
         between felons and misdemeanants. In particular, felonies
         resulted in forfeiture of property and rights. 2 William
         Blackstone, Commentaries *96–97 (discussing forfeiture as
         the historical foundation of felony); id. at *377 (describing
         the possible punishments of serious crime as including
         “confiscation, by forfeiture of lands, or moveables, or both,
         or of the profits of lands for life: others induce a disability, of
         holding offices or employments, being heirs, executors, and
         the like”); see C. Kevin Marshall, Why Can’t Martha Stewart
         Have a Gun?, 32 Harv. J.L. & Pub. Pol’y 695, 715 (2009)
         (recognizing that at common law a felony could result in
         attainder and “civil death,” whereby the felon could no longer
         “perform[] legal functions, such as being a witness or suing”).
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         Misdemeanors, on the other hand, did not; as the historian
         Theodore Plucknett put it, “most of the characteristics of
         criminal proceedings did not attach to misdemeanours. Thus,
         they were not subject to . . . forfeiture . . . .” Theodore Frank
         Thomas Plucknett, A Concise History of the Common Law
         456 (1956). Even today, felons can suffer numerous
         restrictions on their constitutional rights. See United States
         v. McCane, 573 F.3d 1037, 1049 (10th Cir. 2009)
         (Tymkovich, J., concurring) (“[T]he application of § 922(g)
         to a violent felon . . . would appear appropriate under any
         Second Amendment reading. After all, felons lose out on
         fundamental rights such as voting and serving on juries, and
         face discrimination that need only survive rational basis
         review.”). Indeed, as this court has held, “felons are
         categorically different from the individuals who have a
         fundamental right to bear arms.” United States v. Vongxay,
         594 F.3d 1111, 1115 (9th Cir. 2010); see McLaughlin v. City
         of Canton, Miss., 947 F. Supp. 954, 975 (S.D. Miss. 1995)
         (finding that “The historical distinction between felonies and
         misdemeanors is more than semantic. Traditionally, dire
         sanctions have attached to felony convictions which have not
         attached to misdemeanor convictions. Many of these
         sanctions are in force today. Disenfranchisement was, and
         remains, one such sanction. Another such sanction is that
         which prohibits felons from owning or possessing firearms”
         and concluding that laws disenfranchising misdemeanants are
         subject to strict scrutiny).

             Thus, although felon disqualification from the scope of
         the Second Amendment makes sense from an historical
         perspective, the same cannot be said for misdemeanants.
         Felon disqualification from the entire scope of the Second
         Amendment does not justify misdemeanant disqualification
         from the core of the Second Amendment. See Volokh, supra,
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         at 1498 (“If felon bans are upheld on the grounds that felons
         have historically been seen as outside the scope of various
         constitutional rights, then felon bans would offer a poor
         analogy for bans on possession by misdemeanants (even
         violent misdemeanants) . . . .”).

                                       b.

             Not only does the status-based analogy of felons to
         misdemeanants not make sense; selecting intermediate
         scrutiny as the correct level at which to review a categorical,
         status-based disqualification from the core right of the
         Second Amendment also does not make sense.

               Many circuits have chosen intermediate scrutiny to
         analyze statutes that undeniably burden Second Amendment
         rights. They have often done so based on an analogy between
         the right to free speech and the right to keep and bear arms.
         Indeed, as the Seventh Circuit has recognized, “[b]oth Heller
         and McDonald suggest that First Amendment analogues are
         . . . appropriate.” Ezell v. City of Chicago, 651 F.3d 684, 706
         (7th Cir. 2011). The Seventh Circuit went on to summarize
         the tiers of scrutiny at work in the realm of the First
         Amendment:

                In free-speech cases, . . . content-based
                regulations are presumptively invalid, and
                thus get strict scrutiny. On the other hand,
                time, place, and manner regulations on speech
                need only be reasonable and justified without
                reference to the content of the regulated
                speech. . . . [R]egulations in a traditional
                public or designated public forum get strict
                scrutiny, while regulations in a nonpublic
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                forum must not discriminate on the basis of
                viewpoint and must be reasonable in light of
                the forum’s purpose.

         Id. at 708 (internal quotations marks and citations omitted).
         As the Tenth Circuit has stated, the right to keep and bear
         arms “is qualified by what one might call the ‘who,’ ‘what,’
         ‘where,’ ‘when,’ and ‘why.’” United States v. Huitron-
         Guizar, 678 F.3d 1164, 1165–66 (10th Cir. 2012). The
         “when” and “where” qualifications are known in free-speech
         jurisprudence as time, place, and manner restrictions. The
         “what” and “why” qualifications are content-based
         restrictions.

             That leaves the “who,” and it remains a sticking point.
         Categorical restrictions of constitutional rights based on an
         individual’s class or status fit ill with free-speech
         jurisprudence.      The Seventh Circuit has argued that
         categorical limits on the Second Amendment are analogous
         to the categorical limits in the free-speech context, such as
         obscenity or defamation. United States v. Skoien, 614 F.3d
         638, 641 (7th Cir. 2010) (“Categorical limits on the
         possession of firearms would not be a constitutional anomaly.
         Think of the First Amendment, which has long had
         categorical limits: obscenity, defamation, incitement to crime,
         and others.”). These categorical limits on free speech,
         however, are based on what is said, not who is saying it. Cf.
         Skoien, 614 F.3d at 649–51 (Sykes, J., dissenting) (“Adapting
         First Amendment doctrine to the Second Amendment context
         is sensible in some cases . . . . But this particular First
         Amendment analogy doesn’t work here.”). Our constitutional
         jurisprudence does not analyze status-based restrictions on
         free speech under intermediate scrutiny. A street-corner
         harangue on the beauties of revolution can perhaps be
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         prohibited on grounds that it presents a clear and present
         danger of violence; but it cannot be prohibited solely because
         the speaker has a misdemeanor record.

             Judge Jones of the Fifth Circuit recognized this
         incompatability between intermediate scrutiny and status-
         based disqualifications in her recent dissent from a denial of
         rehearing en banc. Nat’l Rifle Ass’n, Inc. v. Bureau of
         Alcohol, Tobacco, Firearms, & Explosives, 714 F.3d 334 (5th
         Cir. 2013) (Jones, J., dissenting from denial of rehearing en
         banc). She disagreed with the opinion’s conclusion that
         intermediate scrutiny was the correct standard to apply to
         §§ 922(b)(1) and (c)(1), which prohibit federally licensed
         firearms dealers from selling handguns to persons under the
         age of twenty-one. Nat’l Rifle Ass’n of Am., Inc. v. Bureau of
         Alcohol, Tobacco, Firearms, & Explosives, 700 F.3d 185 (5th
         Cir. 2012). The majority in that case chose intermediate
         scrutiny because “the ban on handgun sales to minors under
         21 is analogous to longstanding, presumptively lawful bans
         on possession by felons and the mentally ill.” Id. at 206.
         Judge Jones argued that such categorical exclusions should
         not be analyzed under intermediate scrutiny.

                The panel’s level of scrutiny is based on an
                analogy between young adults and felons and
                the mentally ill, as if any class-based
                limitation on the possession of firearms
                justifies any other, so long as the legislature
                finds the suspect “discrete” class to be
                “dangerous” or “irresponsible.” On such
                reasoning, a low level of scrutiny could be
                applied if a legislature found that other
                groups—e.g. aliens, or military veterans with
                PTSD—were “dangerous” or “irresponsible.”
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         NRA, 714 F.3d at 345 (Jones, J., dissenting). Judge Jones is
         correct. Categorical curtailment of constitutional rights based
         on an individual’s status requires more rigorous analysis than
         intermediate scrutiny.

                                       c.

             Moreover, when the majority hold that Chovan’s status as
         a misdemeanant excludes him from the core protection of the
         Second Amendment, it construes Heller as erecting not one
         but two barriers preventing persons from asserting their right
         to keep and bear arms.

              The majority quote two passages from Heller as pertinent
         to ascertaining Chovan’s Second Amendment rights. The
         first Heller passage discusses presumptive disqualifications
         from the scope of the Second Amendment.

                Although we do not undertake an exhaustive
                historical analysis today of the full scope of
                the Second Amendment, nothing in our
                opinion should be taken to cast doubt on
                longstanding prohibitions on the possession of
                firearms by felons and the mentally ill, or
                laws forbidding the carrying of firearms in
                sensitive places such as schools and
                government buildings, or laws imposing
                conditions and qualifications on the
                commercial sale of arms.
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         Heller, 554 U.S. at 626–27. In a footnote, the Court held that
         these restrictions were “presumptively lawful,”4 and that the
         “list does not purport to be exhaustive.” Id. at 627 n.26.

             A second Heller passage, according to the majority,
         defines the “core” right protected by the Second Amendment:
         “And whatever else [the Second Amendment] leaves to future
         evaluation, it surely elevates above all other interests the right
         of law-abiding, responsible citizens to use arms in defense of
         hearth and home.” Id. at 635.




           4
              Although the court in Heller said laws that disqualify felons from
         possessing firearms were “presumptively lawful,” it did not explain this
         phrase. See United States v. Marzzarella, 614 F.3d 85, 91 (3d Cir. 2010)
         (stating that “the phrase ‘presumptively lawful’ could have different
         meanings . . . . [It] could be read to suggest the identified restrictions are
         presumptively lawful because they regulate conduct outside the scope of
         the Second Amendment. On the other hand, it may suggest the
         restrictions are presumptively lawful because they pass muster under any
         standard of scrutiny,” but preferring the first reading); United States v.
         Williams, 616 F.3d 685, 692 (7th Cir. 2010) (stating that “‘presumptively
         lawful’ . . . by implication[] means that there must exist the possibility that
         the ban could be unconstitutional in the face of an as-applied challenge”).
         Heller does not say whether this “presumption” was rebuttable or
         irrebuttable. If it is rebuttable, moreover, by what can it be rebutted?
         Again, the opinion is silent. Perhaps the best reading of this footnote is
         that the presumption is irrebuttable. Just as structural error “requires
         automatic reversal,” Washington v. Recuenco, 548 U.S. 212, 218 (2006),
         so the status of being a felon automatically establishes that those
         individuals do not have the constitutional right to possess firearms. See
         United States v. Vongxay, 594 F.3d 1111, 1117 (9th Cir. 2010) (upholding
         § 922(g)(1)’s restriction on firearm possession for felons, and noting that
         “to date no court that has examined Heller has found 18 U.S.C. § 922(g)
         constitutionally suspect” (internal quotation marks omitted)). The
         language in Heller suggests that felons are, for now at least, conclusively
         outside the scope of the Second Amendment.
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              The majority construe the Heller Court in these two
         passages to be recognizing two different hurdles separating
         citizens from the core right of the Second Amendment. The
         first hurdle determines whether someone is a felon or
         mentally ill. If so, this person is presumptively disqualified
         from the Second Amendment’s protection. I agree with this
         interpretation of the first passage.

              The majority construe the second passage, however, as
         recognizing a further hurdle over which individuals must leap
         to assert their core right to keep and bear arms in defense of
         the home. Although individuals have access to a non-core
         Second Amendment right if they are not felons or mentally
         ill, the majority conclude, only those deemed “law-abiding”
         and “responsible” can lay claim to the “core” right of the
         Second Amendment to possess firearms for self-defense in
         the home. Without articulating a reason, the majority
         construe the terms “law-abiding” and “responsible” as
         recognizing a second standard, stricter than the
         “presumptively lawful” disqualification of felons and the
         mentally ill. That second standard, the majority conclude,
         again without explanation, excludes domestic violence
         misdemeanants. Maj. Op. at 14.

              I construe the second passage differently. The terms of
         the second passage correspond precisely to the terms of the
         first passage. They are two sides of the same coin. “Law-
         abiding” in the second passage corresponds to “felon” in the
         first passage.      “Responsible” in the second passage
         corresponds to “mentally ill” in the first passage. Thus, I read
         Heller’s second passage as restating the first passage. Heller
         does not cast doubt on “prohibitions on the possession of
         firearms by felons and the mentally ill,” which is another way
         of saying that the Second Amendment establishes rights to
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         possess firearms for defense of the home in “law-abiding,
         responsible citizens.”

             If, as under the majority’s reading, the terms “law-
         abiding” and “responsible” are not tied to “felons” and
         “mentally ill,” how are the lower courts to recognize the
         limits of the “law-abiding, responsible citizen” standard?
         Why should we stop with domestic violence misdemeanors
         in defining categorical disqualifications from the core right of
         the Second Amendment? Why not all misdemeanors? Why
         not minor infractions? Could Congress find someone once
         cited for disorderly conduct to be “not law-abiding” and
         therefore to have forfeited his core Second Amendment right?
         Why should not legal determinations that were made without
         any trial at all disqualify individuals from the core Second
         Amendment right? Note, § 922(g) does not stop with
         convictions. Section 922(g)(8), for instance, even curtails
         Second Amendment rights based on restraining orders, with
         no trial at all, but rather with only a hearing of which the
         defendant received notice and the opportunity to participate.5


          5
              The statute 18 U.S.C. § 922(g)(8) states:

                   [It shall be unlawful for any person] who is subject to
                   a court order that—(A) was issued after a hearing of
                   which such person received actual notice, and at which
                   such person had an opportunity to participate; (B)
                   restrains such person from harassing, stalking, or
                   threatening an intimate partner of such person or child
                   of such intimate partner or person, or engaging in other
                   conduct that would place an intimate partner in
                   reasonable fear of bodily injury to the partner or child;
                   and (C)(i) includes a finding that such person represents
                   a credible threat to the physical safety of such intimate
                   partner or child; or (ii) by its terms explicitly prohibits
                   the use, attempted use, or threatened use of physical
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         Compare United States v. Reese, 627 F.3d 792, 802 (10th Cir.
         2010) (finding intermediate scrutiny to be the correct level of
         scrutiny under which to analyze § 922(g)(8) because it targets
         a “narrow class[] of persons who, based on their past
         behavior, are more likely to engage in domestic violence,”
         and upholding the law on that ground), with United States v.
         Knight, 574 F. Supp. 2d 224, 226 (D. Me. 2008) (finding that
         § 922(g)(8) satisfies strict scrutiny because “reducing
         domestic violence is a compelling government interest” and
         the prohibition is “temporary” and therefore “narrowly
         tailored”). Why should we not accept every congressional
         determination for who is or is not “law-abiding” and
         “responsible” for Second Amendment purposes?

              Why not? Because Heller was a constitutional decision.
         It recognized the scope of a passage of the Constitution. The
         boundaries of this right are defined by the Constitution. They
         are not defined by Congress. See NRA, 714 F.3d at 345
         (Jones, J., dissenting) (“In any event, it is circular reasoning
         to adopt a level of scrutiny based on the assumption that the
         legislature’s classification fits that level.”).

             As we have seen, in the Founding period, felonies
         historically resulted in disqualification from certain rights,
         but misdemeanors did not, nor did infractions, nor restraining
         orders. I therefore conclude that domestic violence
         misdemeanants are not disqualified from the core protection
         of the Second Amendment, and that § 922(g)(9) accordingly
         should be analyzed, not under intermediate scrutiny, but


                force against such intimate partner or child that would
                reasonably be expected to cause bodily injury, [to
                possess in or affecting commerce, any firearm or
                ammunition.]
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         under strict scrutiny. See United States v. Engstrum, 609 F.
         Supp. 2d 1227, 1231 (D. Utah 2009) (finding that strict
         scrutiny is the correct rigor of analysis to apply to § 922(g)(9)
         because, first, Heller described the right to keep and bear
         arms as “fundamental,” 554 U.S. at 593, and second, because
         Heller classified the Second Amendment right alongside the
         First and Fourth Amendments which are traditionally
         analyzed under strict scrutiny, but still upholding the statute
         under strict scrutiny analysis).

                                       III.

             To be sure, strict scrutiny is a rigorous standard. The
         Supreme Court has called it “‘strict’ in theory but usually
         ‘fatal’ in fact.” Bernal v. Fainter, 467 U.S. 216, 219 n.6
         (1984) (“Only rarely are statutes sustained in the face of strict
         scrutiny.”) (citing Gerald Gunther, The Supreme Court, 1971
         Term—Foreword: In Search of Evolving Doctrine on a
         Changing Court: A Model for a Newer Equal Protection,
         86 Harv. L. Rev. 1, 8 (1972)). But see Adarand Constructors,
         Inc. v. Peña, 515 U.S. 200, 237 (1995) (“[W]e wish to dispel
         the notion that strict scrutiny is strict in theory, but fatal in
         fact.”) (internal quotation marks omitted).

             Scholarly analysis shows that federal courts uphold
         around thirty percent of the laws they analyze under strict
         scrutiny. Adam Winkler, Fatal in Theory and Strict in Fact:
         An Empirical Analysis of Strict Scrutiny in the Federal
         Courts, 59 Vand. L. Rev. 793, 862–63 (2006). Moreover,
         federal courts uphold Congressional statutes under strict
         scrutiny about half the time. Id. at 818.

             There are several theories regarding what the purpose of
         strict scrutiny is, and what sorts of governmental acts can
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         satisfy its rigorous requirements. One theory defines strict
         scrutiny as upholding laws that undeniably burden
         constitutional rights only “when the government can
         demonstrate that infringements are necessary to avoid highly
         serious, even catastrophic harms.” Richard H. Fallon, Jr.,
         Strict Judicial Scrutiny, 54 UCLA L. Rev. 1267, 1302 (2007)
         (describing several competing theories of strict scrutiny
         analysis); see City of Richmond v. J.A. Croson Co., 488 U.S.
         469, 521 (1989) (Scalia, J., concurring) (arguing that “At
         least where state or local action is at issue, only a social
         emergency rising to the level of imminent danger to life and
         limb . . . can justify an exception to” constitutional rights
         under strict scrutiny analysis); Lee v. Washington, 390 U.S.
         333, 334 (1968) (Black, J., concurring) (stating that the
         governmental goals of “maintaining security, discipline, and
         good order” in a prison can satisfy strict scrutiny analysis).

             As Justice Thomas has argued, another way to say
         “compelling governmental interest” is “pressing public
         necessity.” Fisher v. Univ. of Texas at Austin, 133 S. Ct.
         2411, 2423 n.1 (2013) (Thomas, J., concurring). This
         “pressing public necessity” consists “only [of] those measures
         the State must take to provide a bulwark against anarchy, or
         to prevent violence.” Grutter v. Bollinger, 539 U.S. 306, 353
         (2003) (Thomas, J., concurring in part and dissenting in part).

             I have already suggested that free speech doctrines should
         not be applied to Second Amendment restrictions that are
         based on the status of the individual. See supra, Part II.b.
         More analogous to status-based restrictions on the right to
         keep and bear arms would be restrictions on the freedom of
         association. Freedom of association cases often involve
         governmental action that restricts association based on the
         status or conduct of the individuals, just as § 922(g)(9)
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         restricts the right to keep and bear arms for particular persons
         based on their status and previous conduct. In both cases,
         moreover, this governmental action is often directed towards
         preventing violence and preserving public safety.

             Federal courts apply strict scrutiny to freedom of
         association cases. Roberts v. United States Jaycees, 468 U.S.
         609, 623 (1984) (“Infringements on [the right to associate]
         may be justified by regulations adopted to serve compelling
         state interests . . . that cannot be achieved through means
         significantly less restrictive of associational freedoms.”).
         Despite applying strict scrutiny, however, federal courts still
         often uphold statutes affecting freedom of association; in
         particular, federal courts uphold freedom of association
         regulations under a strict scrutiny analysis “when the asserted
         justification for the laws was public safety or effective law
         enforcement.” Winkler, supra, at 868; see, e.g., Tabbaa v.
         Chertoff, 509 F.3d 89, 92 (2d Cir. 2007) (finding under strict
         scrutiny analysis that customs officials did not violate
         plaintiffs’ freedom of association rights by detaining and
         searching plaintiffs at the border when they returned from an
         Islamic conference in Canada because “given the intelligence
         [the officials] received, the inspection policy was narrowly
         tailored to achieve the compelling governmental interest in
         preventing potential terrorists from entering the United
         States”); Grider v. Abramson, 180 F.3d 739, 749, 752 (6th
         Cir. 1999) (finding under strict scrutiny analysis that
         municipal officials did not violate plaintiffs’ freedom of
         association rights with their crowd control plan during a KKK
         rally because the plan “constituted a necessary constraint
         narrowly fashioned to further a compelling governmental
         interest in public safety and order” to prevent “disorderly
         conduct, breaches of the peace, and serious injuries to persons
         and property”).
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             In our case, too, based on the data the majority discuss in
         detail, the government’s interest in public safety and
         preventing gun violence is sufficiently compelling and
         narrowly tailored to satisfy those prongs of strict scrutiny
         analysis. See Maj. Op. at 23–27; cf. United States v.
         Armstrong, 706 F.3d 1, 8 (1st Cir. 2013) (finding that
         § 922(g)(9) satisfies constitutional scrutiny “under any
         standard”).

             Section 922(g)(9) frames the governmental interest: to
         prevent life-threatening harm to a predictable group of
         victims, i.e. those who have suffered domestic violence, from
         a predictably violent set of convicted criminals, i.e. those who
         have been convicted of a domestic violence misdemeanor.
         As the majority note, there is a sufficient body of penalogical
         knowledge regarding recidivism in domestic violence cases
         to satisfy the compelling interest element required in strict
         scrutiny analysis. Maj. Op. at 25–26; see also Skoien,
         614 F.3d at 642–44 (discussing these studies in detail).
         Moreover, as the Supreme Court has stated, § 922(g)(9)
         targeted a particular deficiency in the felon-in-possession
         statute.

                Existing felon-in-possession laws, Congress
                recognized, were not keeping firearms out of
                the hands of domestic abusers, because “many
                people who engage in serious spousal or child
                abuse ultimately are not charged with or
                convicted of felonies.” 142 Cong. Rec. 22985
                (1996) (statement of Sen. Lautenberg). By
                extending the federal firearm prohibition to
                persons convicted of “misdemeanor crime[s]
                of domestic violence,” proponents of
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                   § 922(g)(9) sought to “close this dangerous
                   loophole.” Id.[] at 22986.

         United States v. Hayes, 555 U.S. 415, 426 (2009).

             As to “narrow tailoring,” the second element of the strict
         scrutiny test, it is important to note that § 922(g)(9) applies
         only to those domestic violence convicts who remain
         convicted. Misdemeanants hold in their own hands the power
         to remove the taint of conviction and rejoin the protected
         class of those who may possess firearms. They can seek
         pardon, expungement, set-aside of their conviction, or
         restoration of civil rights. 18 U.S.C. § 921(a)(21)(B).6 The
         frequency of such expungements, moreover, seem to have
         risen in many states since the enactment of § 922(g)(9). See
         Robert A. Mikos, Enforcing State Law in Congress’s Shadow,
         90 Cornell L. Rev. 1411, 1463–64 & nn. 187–88 (2005).

            In answer to Chovan’s as-applied challenge, California,
         where Chovan was convicted, makes expungement of
         misdemeanor convictions a right. Under § 1203.4a(a) of the
         California Penal Code, all misdemeanants can have their


          6
              The statute 18 U.S.C. § 921(a)(21)(B) states:

                   A person shall not be considered to have been
                   convicted of such an offense for purposes of this
                   chapter if the conviction has been expunged or set
                   aside, or is an offense for which the person has been
                   pardoned or has had civil rights restored (if the law of
                   the applicable jurisdiction provides for the loss of civil
                   rights under such an offense) unless the pardon,
                   expungement, or restoration of civil rights expressly
                   provides that the person may not ship, transport,
                   possess, or receive firearms.
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         convictions expunged after completion of their sentences if
         they have not been charged with or convicted of a further
         crime and have “lived an honest and upright life.” Moreover,
         defendants must be informed of this right to expungement
         “either orally or in writing, at the time he or she is
         sentenced.” Id. at § 1203.4a(c)(1). Prosecuting attorneys
         have fifteen days from the filing of the petition for dismissal
         with the court to object. Id. at § 1203.4a(f). This
         participation of the district attorneys in the process allows
         California to maintain some adversarial integrity in the
         expungement proceedings, as the district attorney can oppose
         the motion if the convict’s rehabilitation is doubtful. This
         system places the evaluation of the convict’s rehabilitation,
         vel non, in the state. Indeed, California courts have
         interpreted § 1203.4a(a) to mandate expungement when
         misdemeanants have complied with its terms. See, e.g.,
         People v. Chandler, 250 Cal. Rptr. 730, 734 (Cal. Ct. App.
         1988) (“[A] defendant moving under Penal Code section
         1203.4a is entitled as a matter of right to its benefits upon a
         showing that he has fulfilled the conditions of probation for
         the entire period of probation. It was apparently intended that
         when a defendant has satisfied the terms of probation, the
         trial court should have no discretion but to carry out its part
         of the bargain with the defendant.”) (citations and quotation
         marks omitted).

             Section 922 is in part a federalism-based statute. It looks
         to state law, passing restrictions on certain convicts based on
         decisions made by state legislatures and courts. Section 922
         also ceases to apply if convicts have satisfied the state
         procedures for expungement. This helps the statute satisfy
         the narrow tailoring prong of strict scrutiny. It allows those
         who no longer pose a threat to society to demonstrate their
         rehabilitation and reclaim their Second Amendment rights.
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         It is not a blunt instrument. Rather, it targets only those
         whom the states continue to deem not rehabilitated. It is
         therefore narrowly tailored to the goal of preventing only
         those who pose the greatest risk to potential domestic
         violence victims from possessing guns.

            With the aforementioned considerations in mind, I
         conclude that § 922(g)(9) advances a compelling
         governmental interest, and does so in a narrowly tailored
         manner. Therefore, the statute satisfies strict scrutiny
         analysis.

                                       IV.

              The Heller opinion did not provide lower courts with
         explicit guidance on how to analyze challenges to statutes
         under the Second Amendment. If we are to apply the familiar
         tiers of scrutiny analysis in Second Amendment cases, instead
         of a pure textual, historical, and structural analysis, however,
         history and precedent still dictate a more stringent
         examination of these issues than the majority allow. Strict
         scrutiny has become an integral aspect of much of our
         constitutional jurisprudence. See Fallon, supra, at 1268
         (ranking strict scrutiny “among the most important doctrinal
         elements in constitutional law”). After applying strict
         scrutiny to § 922(g)(9), I come to the same conclusion as do
         the majority, and uphold the law. The close look afforded by
         strict scrutiny, however, ensures that the law truly is narrowly
         tailored to further a compelling governmental interest, and
         ensures that the Second Amendment’s contours are drawn by
         the Constitution, and not by Congress.
